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             EXHIBIT A
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                             Declaration of S.Z.F.R.

 1. I am a woman from Venezuela and I am in detention at Webb County Detention
     Center in Laredo Texas. My initials are S.Z.F.R.
 2. On March 9 at 7 a.m. I was in my dorm in El Paso and was told to get my things
     together and I was being transferred to another facility. There was one other woman
     and 14 men who were also transferred with me.
 3. I was supposed to have a merits hearing for my asylum claims on March 10th.
 4. They took me to the airport in El Paso and I was put on a plane. Already on the
     plane were many Venezuelan men and three other Venezuelan women. We flew to
     Laredo.
 5. When we got to Laredo we met up with another group of Venezuelan men.
 6. There were at least 10 Venezuelan women on the plane. We arrived March 9 in
     Laredo and were taken to Webb County Detention Center.
 7. Thursday of last week, March13th, we were told to gather our belongings and we
     were driven toward the airport for about an hour. We were told we were being
     deported to Venezuela. We never made it to the airport. We were sent back to Webb
     and told it was because of a plane malfunction.
 8. On Friday again we were told to gather our belongings and put on the bus at Webb
     and sat on the bus for about 15 minutes and then were taken back to Webb.
 9. Saturday morning we were again told to gather our belongings and get on the bus.
     We went to the airport and 8 women were put on the plane with me.
 10. When we got on the plane there were already over 50 men on the plane. I could see
     other migrants walking to the plane but we took off before any additional people
     boarded.
 11. Within a couple of minutes of take off I heard two US government officials talking
     and they said “there is an order saying we can’t take off but we already have.”
 12. I asked where we were going and we were told that we were going to Venezuela.
 13. Several other people on the plane told me they were in immigration proceedings and
     awaiting court hearings in immigration court.
 14. We were not allowed to open our window shades.
 15. We landed somewhere for refueling. We were there for many hours. We were arm
     and leg shackled the whole time.
 16. We took off again and landed fairly quickly. I was then told we were in El Salvador.
 17. While on the plane the government officials were asking the men to sign a document
     and they didn’t want to. The government officials were pushing them to sign the
     documents and threatening them. I heard them discussing the documents and they
     were about the men admitting they were members of TdA.
 18. After we landed but were still on the plane a woman opened the shade. An officer
     rushed to shut the shade and pushed her down by her shoulders to try and stop her
     from looking out. The person that pushed her down had HOU-02 on his sleeve.
 19. I saw out the window for a minute and I saw men in military uniforms and another
     plane. I saw men being led off the plane. Since I’ve been back in the U.S. I have
     seen news coverage and the plane I saw looks like the one I’ve seen on TV with
     migrants from the U.S. being delivered to El Salvador.
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 20. All the men got off the plane. The remaining women asked what happens to us? I
     was told that the President of El Salvador would not accept women. I was also told
     that we were going back to detention in the U.S.
 21. We left in the middle of the night and landed in the early morning in Laredo. The 8
     women who were on the plane were all returned back to the U.S.


    /s/ S.Z.F.R.
    S.Z.F.R.
